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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA




    IN THE MATTER OF THE SEARCH OF Case No. 22-sc-2144 (BAH)
    THE FORENSIC COPY OF THE CELL
    PHONE OF REPRESENTATIVE SCOTT Chief Judge Beryl A. Howell
    PERRY
                                   UNDER SEAL




                               MEMORANDUM OPINION AND ORDER

         Representative Scott Perry (“Rep. Perry”) seeks to stay the disclosure of 2,055 records on

his personal cell phone to the government, pending his appeal of this Court’s Order and

Memorandum Opinion, both issued on December 28, 2022 (“Dec. 2022 Order” and “Dec. 2022

Decision,” respectively), ECF Nos. 24 and 25. See Rep. Perry’s Emergency Mot. to Stay (“Perry

Mot.”), ECF No. 27; see also Rep. Perry’s Mem. re Emergency Mot. to Stay (“Perry Mem.”), ECF

No. 27-1. The December 2022 Order permitted Rep. Perry to withhold from the government 161

records in whole and three records in part that he claimed were privileged under the Speech or

Debate Clause (“Clause”), while rejecting Rep. Perry’s claims of privilege with respect to 2,055

additional records that he does not dispute are responsive to a search warrant issued by this Court

(“D.D.C. Warrant”). See generally Dec. 2022 Order. Upon review, Rep. Perry does not meet the

high bar for the extraordinary relief that a stay confers. His motion is thus denied. 1




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         In the alternative, Rep. Perry requests the issuance of “a temporary stay” of the December 2022 Order “to
allow the D.C. Circuit an opportunity to consider his appeal . . . by extend[ing] the date [ ] he is directed to provide
documents to the Government . . . to Friday, January 6, 2023.” Perry Reply at 9. His alternative request for a
temporary stay of the December 2022 Order by an additional day is granted solely to allow Rep. Perry to file his
emergency motion with the D.C. Circuit.

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I.     BACKGROUND

       A detailed description of the factual and procedural history preceding this motion is set out

in the December 2022 Decision, at 4–10, and is thus incorporated by reference here.

       Specific to this motion, on December 28, 2022, the Court granted in part and denied in part

Rep. Perry’s motion for non-disclosure, holding that 2,055 of the 2,219 responsive records

withheld by Rep. Perry are not privileged under the Clause, while 161 records were properly

withheld in full and three records in part. See Dec. 2022 Order; Dec. 2022 Decision. The

December 2022 Order disclosed redacted versions of the three partially privileged records and

required Rep. Perry to disclose the remaining 2,055 responsive records not covered by the Clause

to the government by January 5, 2023. Dec. 2022 Order at 1.

       Rep. Perry then filed the instant motion for stay pending appeal on December 30, 2022,

see Perry Mot, and an accompanying notice of appeal, see Rep. Perry’s Notice of Appeal, ECF

No. 26. Notably, though this matter relates to an ongoing grand jury investigation, Rep. Perry’s

notice of appeal does not ask for expedited consideration by the D.C. Circuit, under D.C. Cir. R.

2 and 27(f). Pursuant to an expedited briefing schedule entered by this Court, the government

responded to Rep. Perry’s motion on January 3, 2022, see Gov’t’s Opp’n to Mot. for Stay Pending

Appeal (“Gov’t’s Opp’n”), ECF No. 29, and Rep. Perry filed a reply by January 4, 2022, see Rep.

Perry’s Reply re Emergency Mot. to Stay (“Perry Reply”), ECF No. 30. See also Scheduling Order

(Dec. 31, 2022). Briefing on this pending motion is complete and thus the motion is now ripe for

resolution.

II.    LEGAL STANDARD

       “The power to stay proceedings is incidental to the power inherent in every court to control

the disposition of the causes on its docket with economy of time and effort for itself, for counsel,

and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). “‘A stay is not a matter of


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right, even if irreparable injury might otherwise result,’” Nken v. Holder, 556 U.S. 418, 433 (2009)

(quoting Virginian Ry. Co. v. United States, 272 U.S. 658, 672 (1926)), and “[a] stay pending

appeal is always an extraordinary remedy,” Bhd. of Ry. & S.S. Clerks, Freight Handlers, Express

& Station Emps. v. Nat’l Mediation Bd., 374 F.2d 269, 275 (D.C. Cir. 1966); see also Citizens for

Responsibility & Ethics in Washington v. Fed. Election Comm’n, 904 F.3d 1014, 1017 (D.C. Cir.

2018) (per curiam) (“CREW”) (describing a stay pending appeal as “extraordinary relief”).

       Courts considering a stay request pending an appeal must “‘weigh competing interests,’”

Belize Soc. Dev. Ltd. v. Gov’t of Belize, 668 F.3d 724, 732 (D.C. Cir. 2012) (quoting Landis, 299

U.S. at 254–55), by balancing the following factors as applied to the specific facts of the case: “(1)

whether the stay applicant has made a strong showing that he is likely to succeed on the merits;

(2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay

will substantially injure the other parties interested in the proceeding; and (4) where the public

interest lies,” Nken, 556 U.S. at 434 (quotation marks omitted). The first and second factors are

the “most critical” to determining whether a stay is warranted, CREW, 904 F.3d at 1017 (quoting

Nken, 556 U.S. at 434), while the third and fourth factors “merge” when the stay applicant so

moves against the government. Nken, 556 U.S. at 435. The party seeking the stay bears the burden

of “mak[ing] out a clear case of hardship or inequity in being required to go forward, if there is

even a fair possibility that the stay for which he prays will work damage to some one else.” Landis,

299 U.S. at 255.

III.   DISCUSSION

       Rep. Perry’s motion is denied because all four of the stringent Nken factors weigh against

granting a stay. First and foremost, Rep. Perry is unlikely to succeed on the merits for the reasons




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fully explicated in the December 2022 Decision. 2 The vast majority of the records at issue—

which records were recovered, pursuant to a search warrant issued by the U.S. District Court for

the Middle District of Pennsylvania, from Rep. Perry’s personal cell phone and are indisputably

responsive to the D.D.C. Warrant—are not entitled to Clause protection because they do not

contain communications “that are ‘integral’ to [his] participation in ‘the consideration and passage

or rejection of proposed legislation or with respect to other matters which the Constitution places

within the jurisdiction of either House.’” Dec. 2022 Decision at 17 (quoting Gravel v. United

States, 408 U.S. 606, 625 (1972)). Rep. Perry counters that these responsive records are protected

“[l]egislative information gathering” efforts under the Clause because they contain his

communications seeking “information about the security of the 2020 election and the validity of

the electors required to certify the election, a vote that he was called upon to cast under the United

States Constitution, and the Electoral Count Act.” Perry Mem. at 8.

         To be sure, the December 2022 Decision recognized that Rep. Perry’s legislative activities

integral to his consideration and vote under the Electoral Count Act of 1887 (“ECA”), 24 Stat.

373, 3 U.S.C. §§ 5, 6, and 15, as well as his communications relating directly to legislative

activities, such as casting votes or speaking on the House floor, organizing and participating in

legislative committees or in caucus, are protected under the Clause. Dec. 2022 Decision at 26–27

(communications integral to the ECA process are privileged under the Clause); id. at 40–41

(communications with Members and staff about legislation and votes are privileged under the

Clause); id. at 41–42 (communications with Members and staff concerning committee assignments



2
          The government argues that the first Nken factor of likelihood of success on the merits cannot be met because
the December 2022 Order was not a final decision on the merits, and, therefore, Rep. Perry is not entitled to bring an
appeal challenging the denial of his assertion of the Clause since no exception under the collateral order doctrine
permitting interlocutory review applies. Gov’t’s Opp’n at 6–11. Rep. Perry disagrees. Rep. Perry Reply at 1–4
(arguing that the Dec. 2022 Order is appealable under the collateral order doctrine). Regardless of whether the
December 2022 Order is appealable, none of the Nken factors militate in favor of a stay and, consequently, the merits
of the dispute over the appealability of the December 2022 Order need not be reached.

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and House Freedom Caucus Board Elections are privileged under the Clause); id. at 44 (internal

electronic newsletters sent by the House Republican Leadership Conference called “The

Wrangler” that provided substantive summaries and discussion of pending legislation and other

legislative business are privileged under the Clause). The December 2022 Decision, however,

explained at length why Rep. Perry’s “efforts as an individual Member either to obtain or relay

information from or to others to be used to defeat or delay certification of the ECA vote and

President-elect Joseph R. Biden’s victory in the 2020 election,” Dec. 2022 Decision at 27, were

not protected under the Clause, and why his characterization of these efforts as “informal fact-

finding” activities fell short of pulling the Clause’s cloak of protection over those communications,

under a straight-forward reading of binding Supreme Court and D.C. Circuit precedent, which

require for proper invocation of the Clause that an “investigative step is fully and unambiguously

authorized for a legislative purpose,” id. at 21-22 (citing, e.g., Eastland v. U.S. Servicemen’s Fund,

421 U.S. 491, 506 (1975) and Brown & Williamson Tobacco Corp. v. Williams, 62 F.3d 408, 416

(D.C. Cir. 1995)).

       Consistent with this precedent, under McSurely v. McClellan, 553 F.2d 1277, 1286 (D.C.

Cir. 1976) (en banc), to qualify for protection under the Clause, a Member’s fact-finding efforts

must be performed in a sufficiently procedurally regular manner, with formal congressional

sanction or authorization, to constitute legitimate legislative activity. See Dec. 2022 Decision at

32–38; see also id. at 22 (explaining McSurely’s requirement that an informal investigation be

congressionally authorized). To the extent that Rep. Perry believes that McSurely created no

requirement that a Member’s informal field investigations must be congressionally authorized, see

Perry Mem. at 7–8, he is wrong for the reasons outlined in the December 2022 Decision.

       None of the 2,055 responsive records that Rep. Perry has withheld as privileged contain

communications relating to legislative-fact-finding efforts sanctioned or otherwise authorized in a


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procedurally regular manner by any congressional entity.                  Rather, in large part, the

communications illustrate efforts by Rep. Perry, members of former President Trump’s White

House, his campaign team, and other allies to undermine the results of the 2020 election. In short,

Rep. Perry provides no reason why these communications reflect anything more than activities

that are “casually or incidentally related to legislative affairs but not a part of the legislative process

itself.” United States v. Brewster, 408 U.S. 501, 528 (1972).

        Rep. Perry also fails to grapple with the line-drawing problem of distinguishing between

privileged and non-privileged communications that his theory of legislative privilege would create.

In discussing the congressional authorization requirement, the December 2022 Decision explained

how applying Rep. Perry’s theory of Clause privilege to “informal fact-finding efforts untethered

from a formal legislative inquiry” would be “‘both unwise in principle and unworkable in

practice[,]’” “assuredly ‘create considerable confusion’ as to whether the Clause applies[,] and

invite inconsistent applications of the legislative privilege[,]” particularly considering, in the

context of an in camera document review, “the full context of any given communication may not

be discernible.” Dec. 2022 Decision at 38–39 (quoting In re Grand Jury Subpoenas, 571 F.3d

1200, 1207 (D.C. Cir. 2009) (Kavanaugh, J., concurring)). Rep. Perry ignores this issue and the

December 2022 Decision’s analysis of this problem, which further undermines his contention that

he will likely succeed on the merits on appeal.

        Rep. Perry’s focus on protection of his informal fact-finding efforts also elides the fact that

a significant number of responsive records are communications that could not plausibly be related

to fact-finding activities.    For example, as explained in the December 2022 Decision, his

communications with purported cybersecurity experts involved “coordinating strategy and public

relations efforts with Executive Branch officials or Trump Campaign officials, like Rudy Giuliani

and Sidney Powell, regarding voting irregularities.”           Dec. 2022 Decision at 31–32. These


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communications largely reflect his efforts to relay information to other persons rather than trying

to obtain, understand, or assess information. With respect to his communications with Members

and staff, Rep. Perry received electronic newsletters from House Republican Conference

Leadership discussing political talking points and events occurring in and around Congress,

communications with staff concerning press coverage and media strategy, and communications

with Members concerning possible actions to challenge the 2020 election results, see id. at 42–47.

None of these communications appear to be remotely linked to fact-finding efforts, contrary to

Rep. Perry’s general description. Finally, the December 2022 Decision explained that the majority

of communications that Rep. Perry received from Executive Branch officials “demonstrate that he

welcomed, rather than resisted, and indeed often initiated these communications to relay

information or urge consideration of a strategy by the White House or specific action to be taken

by the White House, the Trump Campaign, or [the Department of Justice].” Id. at 49. “Given the

Clause’s purpose to protect congressional Members from untoward interference from the

Executive Branch with legislative matters,” the Court held that “Rep. Perry’s reliance on the

Clause to shield his multi-pronged push for Executive Branch officials to take more aggressive

action is not only ironic but also must fail as beyond the scope of the Clause.” Id. Rep. Perry does

not even attempt to explain how the Clause likely applies to these records in his motion, so he

cannot satisfy the first Nken factor.

       Next up is irreparable injury, which militates strongly against granting a stay. Although

Rep. Perry is technically right that once the 2,055 responsive records are disclosed to the

government, they cannot be undisclosed to the government, see Perry Mem. at 10, his argument

that his constitutional rights would be violated by disclosing the records misses the mark because

he still maintains the core protections available under the Clause. Specifically, Rep. Perry would

retain criminal immunity for his legislative acts, the right to object to the use as evidence of his


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legislative acts, and the right to avoid being compelled to testify about his legislative acts. Howard

v. Off. of Chief Admin. Officer of U.S. House of Representatives, 720 F.3d 939, 946 (D.C. Cir.

2013); see also Dec. 2022 Decision at 14–16. Nonetheless, Rep. Perry counters that the December

2022 Order and Decision “imperil[] [his] ability to object to the use of the material by the

Government and his privilege against compelled testimony.” Perry Reply at 5. This is inaccurate.

The December 2022 Order was limited to the issue of non-disclosure, see Dec. 2022 Order at 1

(ordering Rep. Perry to disclose 2,055 responsive records in whole or in part to the government),

leaving Rep. Perry free, at a minimum, to assert the Clause’s privileges in the future if the

government uses any of the 2,055 records against him in a criminal prosecution or tries to compel

him to testify about his communications contained in these responsive records.

       The potential injury that Rep. Perry may face by denial of a stay pending appeal, arising

from disclosure to the government of the withheld responsive records, is accordingly far less

damaging than the harm he would face if the protections outlined in the Supreme Court’s Clause

jurisprudence—protection from criminal and civil liability, testimonial privilege and

nonevidentiary use privilege—were violated. See In re Grand Jury Investigation, 587 F.2d 589,

597 (3d Cir. 1978) (“But to the extent that the Speech or Debate Clause creates a Testimonial

privilege as well as a Use immunity, it does so only for the purpose of protecting the legislator and

those intimately associated with him in the legislative process from the harassment of hostile

questioning. It is not designed to encourage confidences by maintaining secrecy, for the legislative

process in a democracy has only a limited toleration for secrecy.”); United States v. Renzi, 651

F.3d 1012, 1020 (9th Cir. 2011) (rejecting the contention “that there exists some grandiose, yet

apparently shy, privilege of non-disclosure that the Supreme Court has not thought fit to

recognize”). Given that Rep. Perry retains these critical protections under the Clause, his claim

that he will be irreparably injured absent a stay is overblown.


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         Additionally, should the D.C. Circuit find, on appeal, that any or all of the 2,055 responsive

records are in fact privileged under the Clause, the government points out that a partial remedy

could be issued “by ordering the Government to destroy or return any and all copies [of the records]

it may have in its possession.” Gov’t’s Opp’n at 14 (quoting Church of Scientology of California

v. United States, 506 U.S. 9, 12–13 (1992)). In any event, significantly undercutting Rep. Perry’s

claim of irreparable injury is his concession that the government has already obtained or certainly

could access “most if not all, of the communications at issue here by other means.” Perry Mem.

at 11. Indeed, most of the 2,055 withheld responsive records that this Court has ordered disclosed

are communications between Rep. Perry and other individuals, most of whom are not fellow

congressional Members or staff. Assuming Rep. Perry is correct about the government already

obtaining these same communications as part of the ongoing investigation from the individuals

with whom Rep. Perry was communicating, requiring disclosure here will cause no harm to Rep.

Perry at all since they are already in the government’s possession. In short, Rep. Perry cannot

demonstrate that an injury would be “certain and great,” such that the second Nken factor weighs

against granting a stay. See Wisconsin Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985). 3

         Finally, the interests of the government and the public weigh against a stay. Just as the

grand jury is required to look “into all information that might possibly bear on its investigation

until it has identified an offense or has satisfied itself that none has occurred[,]” United States v.


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          In reply, Rep. Perry says that he would face harm by disclosing the responsive records at issue because such
disclosure “would provide the Government with information that it could use and make derivative use of in its
consideration of filing criminal charges in a highly charged political environment.” Perry Reply at 5. Rep. Perry’s
argument is flawed for two reasons. First, Rep. Perry retains civil and criminal immunity, a testimonial privilege, and
a nonevidentiary use privilege for his legislative acts, so the government’s use of any privileged records against Rep.
Perry in a criminal prosecution would be prohibited under the Clause. Dec. 2022 Decision at 14–16. Second, the
D.C. Circuit, in United States v. Rayburn House Off. Bldg., 497 F.3d 654 (D.C. Cir. 2007) (“Rayburn”), never held
that derivative use of a legislative record is privileged under the Clause but described the harm as limited to the “chill”
that compelled disclosure of legislative records would cause. See id. at 661 (“This compelled disclosure clearly tends
to disrupt the legislative process: exchanges between a Member of Congress and the Member’s staff or among
Members of Congress on legislative matters may legitimately involve frank or embarrassing statements; the possibility
of compelled disclosure may therefore chill the exchange of views with respect to legislative activity.”). Any
derivative use of Rep. Perry’s privileged records is, thus, not a harm that the Clause contemplates or recognizes.

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R. Enterprises, Inc., 498 U.S. 292, 297 (1991), and has a substantial interest in avoiding “delays

and detours” that “would assuredly impede its investigation and frustrate the public’s interest in

the fair and expeditious administration of the criminal laws,” id. at 298–99 (quotation marks

omitted), the government also has a significant interest in moving forward expeditiously with the

criminal investigation into those potentially involved in alleged criminal efforts to overturn the

2020 election. Rep. Perry has diligently pursued his claims of legislative privilege, with the

concomitant result that over four months after issuance of the D.D.C. Warrant, the government has

yet to review a significant number of responsive records. A prolonged appeal would only further

delay disclosure of those responsive records. The government and the public have a strong interest

in reviewing expeditiously the records responsive to the search warrant since “in criminal cases[,]

encouragement of delay is fatal to the vindication of the criminal law.” Khadr v. United States,

529 F.3d 1112, 1117 (D.C. Cir. 2008) (cleaned up). 4

         None of Rep. Perry’s alternative considerations outweigh the government and the public’s

interest in an expedient investigation. For starters, pointing to the fact that the government has

obtained 12,944 records from his cell phone and communications from others, like former

Assistant Attorney General Jeffrey Clark and Trump Campaign attorney John Eastman, Perry

Mem. at 11, is a misfire. Even assuming he is correct about the government’s access to others’

records, this neither defeats nor deflects the government’s interest in responsive records held on

Rep. Perry’s cell phone. Instead, as already noted, to the extent that the 2,055 responsive records

at issue overlap with communications already in the government’s position, Rep. Perry only

undermines his argument that he would be irreparably injured if a stay were not entered. Next,


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         Rep. Perry’s reliance on Jewish War Veterans of U.S., Inc. v. Gates, 522 F. Supp. 2d 73 (D.D.C. 2007), Perry
Mem. at 12, is misplaced. In that case, a partial stay in production of potentially privileged records under the Clause
was granted because “the Court conclude[d] that the Members have raised a serious legal question on appeal,” id. at
80, but no such persuasive argument is made here. Moreover, since that case involved a civil dispute, the court had
no necessity to consider the weighty public interest of impeding a significant criminal investigation. Id. at 82–83.

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Rep. Perry contends that “[h]is constituents also have an interest in ensuring that he is able on their

behalf to investigate facts that are central to his legislative activity without fear of reprisal.” Id. at

12. Nothing about the December 2022 Order, however, prevents Rep. Perry from engaging in

legislative fact-finding inquiries; it solely requires him to disclose records that are not privileged

under the Clause. Also unavailing is his argument that he must be afforded time to solicit amicus

participation, through the General Counsel of the House of Representatives, after Congress meets

and “the new Speaker is elected.” Perry Mem. at 12–13. During all the months this case has been

pending, however, Rep. Perry has thus far failed to “request that the Court grant access to the

sealed proceedings in this case so that the General Counsel of the House of Representatives may

directly represent Congress’ institutional prerogatives.” Id.; cf. Gomez v. United States Dist. Court

for Northern Dist. of Cal., 503 U.S. 653, 654 (1992) (per curiam) (noting that the “last-minute

nature of an application” or an applicant’s “attempt at manipulation” of the judicial process may

be grounds for denial of a stay). Any further delay in allowing the government’s investigation to

proceed only weighs against a stay.

        Ultimately, Rep. Perry concedes that the December 2022 Decision was “thorough and

detailed[,]” and he simply “disagrees with the Court’s legal conclusions[.]” Perry Reply at 6.

Having considered these disagreements again, this Court is not persuaded that his claims of

legislative privilege were incorrectly evaluated in the December 2022 Decision, that he would be

irreparably injured absent a stay pending appeal, and that the public interest favors granting the

requested stay pending appeal.

        Based on the foregoing analysis, Rep. Perry’s motion to stay the December 2022 Order

and Decision pending appeal is denied.

IV.     ORDER

        For the foregoing reasons, it is hereby


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          ORDERED that Rep. Perry’s Emergency Motion to Stay, ECF No. 27, is DENIED; it is

further

          ORDERED that the December 2022 Order be TEMPORARILY STAYED until January

6, 2023, at 5:00 PM, to allow Rep. Perry the opportunity to file an Emergency Motion to Stay with

the United States Court of Appeals for the District of Columbia Circuit; it is further

          ORDERED that Rep. Perry comply with the December 2022 Order by no later than

January 6, 2023, at 5:00 PM.

          SO ORDERED.

Date: January 4, 2023
                                                      __________________________
                                                      BERYL A. HOWELL
                                                      Chief Judge




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